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 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF KANSAS


                In Re:                                                                          §
                                                                                                §
                MADERAK, DAWN ELAINE                                                            §           Case No. 18-20719 RDB
                                                                                                §
                                                              Debtor                            §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 04/10/2018 . The undersigned trustee was appointed on 04/10/2018 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $                 2,349.43

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                                 0.00
                                                  Bank service fees                                                                       0.00
                                                  Other payments to creditors                                                             0.00
                                                  Non-estate funds paid to 3rd Parties                                                    0.00
                                                  Exemptions paid to the debtor                                                           0.00
                                                  Other payments to the debtor                                                            0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $                 2,349.43

                 The remaining funds are available for distribution.


          ____________________
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                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 08/19/2019 and the
      deadline for filing governmental claims was 08/19/2019 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 587.36 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 587.36 , for a total compensation of $ 587.36 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 234.94 , for total expenses of $ 234.94 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 10/29/2019                                     By:/s/Steven R. Rebein, Chapter 7 Trustee
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:       1
                                                                                               ASSET CASES                                                                                                               Exhibit A
Case No:              18-20719      RDB      Judge: ROBERT D. BERGER                                                                            Trustee Name:                     Steven R. Rebein, Chapter 7 Trustee
Case Name:            MADERAK, DAWN ELAINE                                                                                                     Date Filed (f) or Converted (c):   04/10/18 (f)
                                                                                                                                               341(a) Meeting Date:               05/07/18
For Period Ending: 10/29/19                                                                                                                    Claims Bar Date:                   08/19/19



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                                Asset Description                                    Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                    (Scheduled and Unscheduled (u) Property)                           Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. 2009 Chevrolet Cobalt                                                                    2,000.00                               0.00                                               0.00                     FA
 2. Misc. Household Goods and Furnishings                                                       500.00                              0.00                                               0.00                     FA
 3. Electronics                                                                                 350.00                              0.00                                               0.00                     FA
 4. Clothing                                                                                    200.00                              0.00                                               0.00                     FA
 5. Misc. Jewelry                                                                               100.00                              0.00                                               0.00                     FA
 6. 4 dogs, 2 parakeets                                                                           0.00                              0.00                                               0.00                     FA
 7. Bank of the West                                                                            200.00                           200.00                                             200.00                      FA
 8. AHRP 403(b)                                                                              4,500.00                               0.00                                               0.00                     FA
 9. Vanguard TJ Maxx 401(k)                                                                  7,187.00                               0.00                                               0.00                     FA
 10. 1985 Holidar Rambler RV (Homestead )                                                    3,320.00                               0.00                                               0.00                     FA
 11. 2018 pro rated income tax refunds (u)                                                   1,095.62                          1,095.62                                            1,095.62                     FA
 12. Preference Payment Recovery                                                             1,053.81                          1,053.81                                            1,053.81                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                        $20,506.43                          $2,349.43                                           $2,349.43                             $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   10/29/19 - TFR submitted to UST for approval;
   5/6/19 - Trustee filed motion for turnover against the Debtor;
   3/31/19 - Trustee waiting on 2018 income tax returns;
   11/14/18 - Trustee has requested 2018 federal and state income tax returns;
   5/24/18 - Trustee investigating preference payment re: The Barstow School;




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 3)                     Case 18-20719                 Doc# 23           Filed 12/06/19             Page 3 of 9                                                                     Ver: 22.02b
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       2
                                                                                        ASSET CASES                                                                                                    Exhibit A
Case No:            18-20719       RDB     Judge: ROBERT D. BERGER                                                           Trustee Name:                      Steven R. Rebein, Chapter 7 Trustee
Case Name:          MADERAK, DAWN ELAINE                                                                                     Date Filed (f) or Converted (c):   04/10/18 (f)
                                                                                                                             341(a) Meeting Date:               05/07/18
                                                                                                                             Claims Bar Date:                   08/19/19
   RE PROP# 12---The Barstow School garnishment - demand ltr issued 5/24/18;


   Initial Projected Date of Final Report (TFR): 10/01/19     Current Projected Date of Final Report (TFR): 10/29/19




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 4)              Case 18-20719               Doc# 23           Filed 12/06/19    Page 4 of 9                                                                     Ver: 22.02b
                                                                                                     FORM 2                                                                                                    Page:      1
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                        Exhibit B
  Case No:               18-20719 -RDB                                                                                            Trustee Name:                       Steven R. Rebein, Chapter 7 Trustee
  Case Name:             MADERAK, DAWN ELAINE                                                                                     Bank Name:                          Axos Bank
                                                                                                                                  Account Number / CD #:              *******1110 Checking Account
  Taxpayer ID No:    *******0583
  For Period Ending: 10/29/19                                                                                                     Blanket Bond (per case limit):      $ 24,700,000.00
                                                                                                                                  Separate Bond (if applicable):


           1                2                               3                                                 4                                                 5                          6                         7
    Transaction         Check or                                                                                                         Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                      BALANCE FORWARD                                                                                                                         0.00
          05/30/19         12        The Barstow School                               PREFERENCE PAYMENT                                1141-000                    1,053.81                                             1,053.81
          06/10/19                   Dawn E. Maderak                                  Refunds and bank account funds                                                1,295.62                                             2,349.43
                            7                                                            Memo Amount:              200.00               1129-000
                                                                                      Bank account funds
                           11                                                             Memo Amount:            1,095.62              1224-000
                                                                                      Income Tax Refund

                                             Memo Allocation Receipts:            1,295.62                    COLUMN TOTALS                                         2,349.43                       0.00                   2,349.43
                                         Memo Allocation Disbursements:               0.00                        Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                              Subtotal                                              2,349.43                       0.00
                                                   Memo Allocation Net:           1,295.62                        Less: Payments to Debtors                                                        0.00
                                                                                                              Net
                                                                                                                                                                    2,349.43                       0.00
                                                                                                                                                                                      NET                             ACCOUNT
                     Total Allocation Receipts:             1,295.62                                           TOTAL - ALL ACCOUNTS                     NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                  0.00                                           Checking Account - ********1110                     2,349.43                          0.00                 2,349.43
                                                                                                                                                      ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:             1,295.62
                                                                                                                                                                   2,349.43                          0.00                 2,349.43
                                                                                                                                                      ==============             ==============              ==============
                                                                                                                                                       (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                  Transfers)               To Debtors)                    On Hand




                                                                                                                                  Page Subtotals                    2,349.43                        0.00
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LFORM24                                                           Case 18-20719              Doc# 23       Filed 12/06/19         Page 5 of 9
                                                                             EXHIBIT C
 Page 1                                                                                                                           Date: October 29, 2019
                                                                      ANALYSIS OF CLAIMS REGISTER

  Case Number:      18-20719                                              Claim Number Sequence
  Debtor Name:      MADERAK, DAWN ELAINE

 Code #            Creditor Name & Address               Claim Class      Notes                      Scheduled              Claimed           Allowed
 000001          Cavalry SPV I, LLC                    Unsecured                                           $0.00          $8,568.82            $8,568.82
 070             assignee of AmeriCredit Financial      Allowed
 7100-00         PO Box 27288
                 Tempe, AZ 85282

 000002          John Benge                            Unsecured                                           $0.00          $2,210.00            $2,210.00
 070             Benge Law Firm                         Allowed
 7100-00         900 Westport Road
                 2nd Floor
                 Kansas City MO 64111

 000003          Granite State Management & Res        Unsecured                                           $0.00         $12,036.48           $12,036.48
 070             c/o U.S. Department of Education       Allowed
 7100-00         PO Box 4414
                 Portland, OR 97208

 000004          Kansas City Allergy and Asthma        Unsecured                                           $0.00            $649.09             $649.09
 070             c/o RSH and Associates, LLC            Allowed
 7100-00         PO Box 14515
                 Lenexa, KS 66285

 000005          Sunflower Medical Group               Unsecured                                           $0.00            $531.67             $531.67
 070             c/o RSH and Associates, LLC            Allowed
 7100-00         PO Box 14515
                 Lenexa, KS 66285

 000006          E-470 Public Highway Authority        Unsecured                                           $0.00            $143.70             $143.70
 070             22470 E 6th Parkway Ste 100            Allowed
 7100-00         Aurora, CO 80018

 000007          The Barstow School                 Unsecured                                              $0.00         $10,422.45           $10,422.45
 070             c/o David D. Backer                 Allowed
 7100-00         6901 Shawnee Mission Parkway Suite
                 250
                 Overland Park, KS 66202

 000008          Verizon                               Unsecured                                           $0.00          $1,256.43            $1,256.43
 070             by American InfoSource as agent        Allowed
 7100-00         PO Box 4457
                 Houston, TX 77210-4457

 000009          Intercoastal Financial, LLC           Unsecured                                           $0.00            $345.00             $345.00
 070             as agent for Cuzco Capital Investment  Allowed
 7100-00         Management LLC
                 7954 Transit Rd. #144CU
                 Williamsville, NY 14221




                     Case Totals:                                                                          $0.00         $36,163.64           $36,163.64
          Code #: Trustee's Claim Number, Priority Code, Claim Type




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          UST Form 101-7-TFR (5/1/2011) (Page: 6)
                                     Case      18-20719               Doc# 23       Filed 12/06/19    Page 6 of Printed:
                                                                                                                9        10/29/19 10:34 AM   Ver: 22.02b
                                     TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                       Exhibit D

    Case No.: 18-20719 RDB
    Case Name: MADERAK, DAWN ELAINE
    Trustee Name: Steven R. Rebein, Chapter 7 Trustee
                      Balance on hand                                               $                  2,349.43

             Claims of secured creditors will be paid as follows:


                                                             NONE


             Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payments Proposed
                      Reason/Applicant                  Total Requested   to Date          Payment
      Trustee Fees: Steven R. Rebein, Chapter 7
      Trustee                                           $         587.36 $              0.00 $          587.36
      Trustee Expenses: Steven R. Rebein,
      Chapter 7 Trustee                                 $         234.94 $              0.00 $          234.94
              Total to be paid for chapter 7 administrative expenses                $                   822.30
              Remaining Balance                                                     $                  1,527.13


             Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


             In addition to the expenses of administration listed above as may be allowed by the Court,
    priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

               Allowed priority claims are:


                                                             NONE




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            The actual distribution to wage claimants included above, if any, will be the proposed payment
    less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

            Timely claims of general (unsecured) creditors totaling $ 36,163.64 have been allowed and will
    be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
    timely allowed general (unsecured) dividend is anticipated to be 4.2 percent, plus interest (if
    applicable).

               Timely allowed general (unsecured) claims are as follows:

                                                    Allowed Amount       Interim Payments Proposed
    Claim No.          Claimant                     of Claim             to Date          Payment
    000001             Cavalry SPV I, LLC           $       8,568.82 $                0.00 $            361.85
    000002             John Benge                   $       2,210.00 $                0.00 $             93.32
                       Granite State Management
    000003             & Res                    $          12,036.48 $                0.00 $            508.28
                       Kansas City Allergy and
    000004             Asthma                       $         649.09 $                0.00 $             27.41
    000005             Sunflower Medical Group      $         531.67 $                0.00 $             22.45
                       E-470 Public Highway
    000006             Authority                    $         143.70 $                0.00 $               6.07
    000007             The Barstow School           $      10,422.45 $                0.00 $            440.12
    000008             Verizon                      $       1,256.43 $                0.00 $             53.06
    000009             Intercoastal Financial, LLC $          345.00 $                0.00 $             14.57
              Total to be paid to timely general unsecured creditors                 $                1,527.13
              Remaining Balance                                                      $                     0.00




            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
    be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.




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               Tardily filed general (unsecured) claims are as follows:


                                                          NONE




           Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent.

           Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:


                                                          NONE




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                           Case      18-20719   Doc# 23   Filed 12/06/19     Page 9 of 9
